Case 4:17-cV-02988 Document 1 Filed in TXSD on 10/05/17 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

BLANCA MONICA VILLARREAL, §

Plaintiff, §

§

v. §
§ CIVIL ACTION NO.

TRANSAMERICA LIFE INSURANCE §

COMPANY, AND DILIGENCE §

INTERNATIONAL GROUP, LLC, §

Defendants. §

NOTICE OF REMOVAL

 

_ Defendant Transarnerica Life lnsurance Cornpany (»“Transarnerica”) files this Notice of
Rernoval and in support thereof shows the Court as follows:
v I. BACKGROUND

l. On September 18, 2017, Plaintiff Blanca Monica Villarreal (“Plaintift”) iiled an
Original Petition and Request for Disclosure (“On`ginal Petition”) in the 55th Judicial District
Court of Harris County, Texas as Cause No. 2017-61697, initiating the action styled Blanca
Monica Villarreal v. Transamerica Life Insurance Company and Diligence International Group,
LLC (the “State Court Action”).

2. Transamerica was served with the Original Petition and citation by certified mail
on Septernber 27 , 2017. ln the Original Petition, Plaintiff asserts claims related to a life insurance
policy owned by her alleged deceased husband with a benefit of $10,000,000. Transamerica’s
deadline to answer the Original Petition has not yet occurred lt will file its answer pursuant to
the cheral Rules of Civil /Procedure.

II. REMOVAL IS TIMELY
3. Transamerica was served with the Citation and Original Petition on Septernber 27,

2017. Defendant Diligence lnternational Group, LLC (“Diligence”) has not yet been served with

NOTICE OF REMOVAL - Page 1

Case 4:17-cV-02988 Document 1 Filed in TXSD on 10/05/17 Page 2 of 6

the Original Petition and citation. Therefore, Transamerica’s removal is timely filed within 30
days of service of the initial pleading filed in this matter. 28 U.S.C. § l446(b)(2)(B).

III. GROUNDS FOR REMOVAL

4. The State Court Action may be removed to this Court under 28 U.S.C. § l44l(a)
because this Court has diversity jurisdiction over the claims and relevant parties Plaintiff and
Defendants are citizens of different states and the amount in controversy exceeds the sum of
$75,000, exclusive of interest and costs.

A. Plaintiff and Defendants Are Completely Diverse.

5 . Plaintiff is now, and was at the time this action was filed, a citizen of Mexico
City, Mexico. (See Original Petition, 11 l.) lndeed, Plaintiff alleges in the Original Petition that
she resides in Mexico City, Mexico. (Ia’.). Plaintiff is therefore a citizen of Mexico.

6. Transamerica is a life insurance company organized under the laws of Iowa, with
its principal place of business in Cedar Rapid, Iowa. lt is therefore a citizen of Iowa. ln the Fifth
Circuit, “the citizenship of an LLC is determined by the citizenship of all of its members.”
Harvey v. Grey WolfDrilling C0., 542 F.3d l077, 1079 (Sth Cir. 2008). Diligence is a Texas
limited liability company, and thus is a citizen of every state of Which its members are citizens
Id. The sole member of Diligence is Richard J. Marquez, an individual who is a citizen of Texas.
Diligence is therefore a citizen of` Texas.

7. Given that Plaintiff is a citizen of Mexico, Transamerica is a citizen of lowa and
Diligence is a citizen of Texas, there is complete diversity of citizenship between Plaintiff and
Defendants.

B. The Amount in Controversy Exceeds $75,000.
8. ln this case, the amount in controversy exceeds $75,000, exclusive of interest and

costs. In her Original Petition, Plaintiff specifically asserts that she seeks monetary relief of over

NOTICE OF REMOVAL - Page 2

Case 4:17-cV-02988 Document 1 Filed in TXSD on 10/05/17 Page 3 of 6

$l,OO0,000. (See Original Petition, jj 5).
IV. CONSENT IS NOT REQUIRED

9. The consent of Diligence is not required to perfect this removal. This is because
consent is only required where a party has been properly joined and served See 28 U.S.C. §
l446(b)(2)(A). Diligence has not been served as of the date of this removal.

10. In addition and in the alternative, as discussed below, Diligence’s consent is not
required because it has been improperly joined as a party to this matter. See Jernigan v. Ashland
Oil Inc., 989 F.2d 812, 815 (Sth Cir. 1993).

V. VENUE IS PROPER IN THIS DISTRICT

ll. . Removal is proper to the United States District Court for the Southern, District of
Texas, Houston Division because this Court presides over the district and division where the
State Court Action was filed (Harris County, Texas). 28 U.S.C. § l44l(a).

VI. REMOVAL DOCUMENTS

12. Pursuant to 28 U.S.C. § l446(a) and Local Rule 81, attached to this Notice of
Removal is an lndex of all matters being filed with this Notice of Removal, which includes the
following documentsl:`

Exhibit l: Plaintiffs’ Original Petition and Request for Disclosure;

Exhibit 2; Doci<et she¢t; and

Exhibit 32 List of all parties and counsel of record;

13. Pursuant to 28 U.S.C. § l446(d), written notice of the filing of this Removal will
be served on counsel for Plaintiff, and a true and correct copy of this Removal (without exhibits)

will be filed with the Clerk of the 55th Judicial District Court ofHarris County, Texas.

 

1 No executed returns of service have been filed with the state court as of this removal nor have any orders been
entered to include with the removal papers b

NOTICE OF REMOVAL - Page 3

Case 4:17-cV-02988 Document 1 Filed in TXSD on 10/05/17 Page 4 of 6

VI. IMPROPER JOINDER

14. For purposes of determining the appropriateness of this removal and the Court’s
jurisdiction, Transamerica asserts that the Court may ignore Diligence because it was improperly
joined for the purpose of defeating Transamerica’s ability to remove this diverse case to this
Court. l

l5. A defendant may not remove a state court civil suit to federal court “if any of the
parties in interest properly joined and served as defendants is a citizen of the State in which such
action is brought.” 28 U.S.C. § l44l(b). The doctrine of improper joinder, however, allows for
removal to federal court despite the fact that non-diverse defendants are named as parties. This
is because citizenship of an improperly joined party is totally disregarded in determining the
court’s subject matter jurisdiction Smallwood v. Illinois Cent. R.R. Co., 385 F.3d 568, 572 (5th
Cir. 2003). Thus, the improper joinder doctrine ensures that the presence of an improperly
joined, non-diverse defendant does not defeat federal removal jurisdiction premised on diversity.
Borden v. Allstate Ins. C0., 589 F.3d 168, l71 (5th Cir. 2009).

' 16. Improper joinder may be established by showing (l) actual fraudin the pleading
of jurisdictional facts, or (2) an inability to establish a cause of action against the non-diverse
defendant in state court. Gasch v. Harg‘ord Accident & Indem. Co., 491 F.3d 278, 281 (5th Cir.
2007), citing Smallwood, 385 F.3d at 573. The latter situation is asserted here.

l7. Defendants claiming improper joinder based on the second type of improper
joinder must show there is no possibility of recovery by the plaintiff against the in-state
defendant Cuevas v. BAC Home Loans Servz`cz`ng, 648 F.3d 242, 249 (5th Cir. 2011). This has
been interpreted by the Fifth Circuit to mean the defendant must simply show there is no

reasonable basis for predicting that state law would allow recovery against the in-state defendant

NOTICE OF REMOVAL - Page 4

Case 4:17-cV-02988 Document 1 Filed in TXSD on 10/05/17 Page 5 of 6

]a'. A “reasonable basis” means more than a mere hypothetical basis Griggs v. State Farm
Lloyds, 181 F.3d 694, 701 (5th Cir. 1999).

18. To determine whether a plaintiff has a reasonable basis for recovery under state
law, the court may conduct a Rule 12(b)(6) type analysis Smallwood, 385 F.3d at 573. This
requires the Court to first look at the leadings to determine whether the allegations state a claim
under state law against the non-diverse defendants Ial. If a claim is stated, but has misstated or
omitted discrete facts that would determine the propriety of j oinder, the court may then pierce the
pleadings and consider summary judgment type evidence. Ia’.,' Anderson v. GA Gulf Lake
Charles, 342 Fed. Appx. 911, 915-916 (5th Cir. 2009)

19. As applied to this case the foregoing standards require the conclusion that
Diligence was improperly joined as a party to this case. This is because Plaintist claims fail on
their face since the Original Petition fails to assert specific facts supporting each ~claim. lt is a
classic case of mere conclusory recitations of elements of causes of action without more. In
addition, PlaintifP s claims substantively fail. For example, Plaintiff brings an lnsurance Code
claim against Diligence but Diligence is not “engage in the business of insurance” such that the
lnsurance Code does not apply to it. Similarly, Plaintiff failed to identify any statements by
Diligence that would constitute defamation under Texas law or that would demonstrate extreme
and outrageous behavior. Simply because Plaintiff disagrees with Diligence’s findings does not
make its behavior illegal or outrageous In sum, whether a 12(b)(6) or summary-judgment type
analysis is performed, Plaintiff` s claims against Diligence fail. Therefore, it was improperly
joined and should be disregarded by the Court for determining jurisdiction

vII. RELIEF REQUESTED

20. For the foregoing reasons, Transamerica respectfully requests that the Court make

NOTICE OF REMOVAL - Page 5

Case 4:17-cV-02988 Document 1 Filed in TXSD on 10/05/17 Page 6 of 6

such orders and take such actions as may be necessary in connection with the removal of the

State Court Action to the United States District Court for the Southern District of Texas, Houston

Division, and that Transamerica have such other and further relief, both general and special, at

law and in equity, to which it shows itself to be justly entitled

DATED: October 5, 2017.

NO'I`ICE OF REMOVAL - Page 6

Respectfully submitted,

WH\ISTEAD PC

By:

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